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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


KEITH JOHNSON,

        Plaintiff,

v.                                                Case No. 3:17-cv-536-J-32PDB

STATE FARM MUTUAL
AUTOMOBILE INS. CO.,

        Defendant.




                                    ORDER

        Upon review of Joint Dismissal with Prejudice (Doc. 18), filed on July 20,

2018, this case is dismissed with prejudice. Each party shall bear its own

attorneys’ fees and costs. The Clerk should close the file.

        DONE AND ORDERED in Jacksonville, Florida this 23rd day of July,

2018.




                                                   TIMOTHY J. CORRIGAN
                                                   United States District Judge

jb
Copies:

Counsel of record
